     Case 5:20-cv-01730-LHK        Document 18    Filed 12/03/20   Page 1 of 3




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13
                        UNITED STATES DISTRICT COURT
14                    NORTHERN DISTRICT OF CALIFORNIA
15    SCOTT JOHNSON,                       Case: 5:20-CV-01730-LHK
16            Plaintiff,
                                                 JOINT STIPULATION FOR
17      v.                                       DISMISSAL PURSUANT TO
18    ESA P PORTFOLIO OPERATING                  F.R.CIV.P. 41 (a)(1)(A)(ii)
      LESSEE LLC, a Delaware Limited
19    Liability Company; and Does 1-10,
20            Defendants.
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     Joint Stipulation for Dismissal                Case: 5:20-CV-01730-LHK
     Case 5:20-cv-01730-LHK        Document 18     Filed 12/03/20    Page 2 of 3




 1                                     STIPULATION
 2
 3          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
 4   between the parties hereto that this action may be dismissed with prejudice
 5   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
 6   This stipulation is made as the matter has been resolved to the satisfaction of
 7   all parties.
 8
 9   Dated: December 03, 2020           CENTER FOR DISABILITY ACCESS
10
                                        By: /s/ Amanda Seabock
11                                              Amanda Seabock
                                                Attorneys for Plaintiff
12
13   Dated: December 03, 2020           JEFFER MANGELS BUTLER & MITCHELL
                                        LLP
14
15                                      By: /s/ Stuart K. Tubis
16                                            Martin H. Orlick
                                              Stuart K. Tubis
17                                            Attorneys for Defendant
                                              ESA P Portfolio Operating Lessee LLC
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     Joint Stipulation for Dismissal                 Case: 5:20-CV-01730-LHK
     Case 5:20-cv-01730-LHK        Document 18    Filed 12/03/20   Page 3 of 3




 1                        SIGNATURE CERTIFICATION
 2
 3   I hereby certify that the content of this document is acceptable to Stuart K.
 4   Tubis, counsel for ESA P Portfolio Operating Lessee LLC, and that I have
 5   obtained Mr. Tubis’s authorization to affix his electronic signature to this
 6   document.
 7
 8   Dated: December 03, 2020          CENTER FOR DISABILITY ACCESS
 9
                                       By: /s/ Amanda Seabock
10                                             Amanda Seabock
11
                                               Attorneys for Plaintiff

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     Joint Stipulation for Dismissal                Case: 5:20-CV-01730-LHK
